              Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 1 of 12 PageID 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                     Middle District
                                                  __________ DistrictofofFlorida
                                                                          __________

                  United States of America                          )
                             v.                                     )
                     Hani Wafik Kaakati
                                                                    )    Case No.
                                                                    )               6:24-mj- 1433
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              09/20/2019 and 09/23/2019        in the county of              Seminole            in the
        Middle         District of            Florida         , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 1343                                              Wire Fraud




          This criminal complaint is based on these facts:
See attached.




          ✔ Continued on the attached sheet.
          ’


                                                                                             Complainant’s signature

                                                                               Kimberly Simmonds, FBI Task Force Officer
                                                                                              Printed name and title

Sworn to before me over the telephone or other reliable electronic means and signed by me
pursuant to Fed. R. Crim. P. 4.1 and 4(d).

Date:             04/23/2024
                                                                                                Judge’s signature

City and state:                         Orlando, Florida                         Hon. Embry Kidd, U.S. Magisrate Judge
                                                                                              Printed name and title



         Print                       Save As...                Attach                                                  Reset
Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 2 of 12 PageID 2




        AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, Kimberly Simmonds, being first duly sworn, hereby depose and state

the following:

            INTRODUCTION AND AGENT BACKGROUND

      1.     I am a Detective with the Altamonte Springs Police Department,

and I have been so employed since May 2015. Since May 2022, I have been

assigned as a Task Force Officer to the Federal Bureau of Investigation

(“FBI”) Tampa division’s Orlando Resident Agency, Joint Terrorism Task

Force. I attended the basic law enforcement academy at the Valencia Criminal

Justice Institute in Orlando, Florida. I have been trained in obtaining probable

cause, surveillance techniques, the interviewing of subjects and witnesses, and

the planning and execution of arrest, search, and seizure warrants. I have also

received advanced training on the following topics, among others: search and

seizure, weapons of mass destruction investigations and operations,

counterterrorism investigations, USSS Bitcoin and cryptocurrency, and

financial investigations.

      2.     I submit this affidavit in support of a criminal complaint charging

HANI WAFIK KAAKATI (“KAAKATI”), a U.S. citizen who resides in

Sanford, Florida, with wire fraud, in violation of 18 U.S.C. § 1343. The

elements of wire fraud are:
Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 3 of 12 PageID 3




           a. the Defendant knowingly devised or participated in a scheme to
              defraud someone by using false or fraudulent pretenses,
              representations, or promises;

           b. the false pretenses, representations, or promises were about a
              material fact;

           c. the Defendant acted with the intent to defraud; and

           d. the Defendant transmitted or caused to be transmitted by wire
              some communication in interstate commerce to help carry out
              the scheme to defraud.

      3.      The statements contained in this affidavit are based on my

personal knowledge and experience, and reliable information from other law

enforcement officers and computer databases. Because of the limited purpose

of this affidavit, I have not included each and every fact known to me. Rather,

I have included only those facts necessary to establish probable cause

supporting the requested complaint.

                             PROBABLE CAUSE

Relevant Entities

      4.      NextGear Automotive, LLC (“NextGear Automotive”) was a

Florida company that was registered on or about May 17, 2013. KAAKATI

was listed in Florida Department of State Division of Corporations

(“FL/DOC”) records as the registered agent of NextGear Automotive. The

Authorized Person(s) Detail listed the “Title MGR” as KAAKATI, 5113




                                        2
Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 4 of 12 PageID 4




Filmore, Sanford, Florida. The principal address of NextGear Automotive

was 5113 Filmore Place, Sanford, Florida.

      5.     NextGear Auto LLC (“NextGear Auto”) was a Florida company

that was registered on or about September 9, 2019. M.N. was listed in

FL/DOC records as the registered agent of NextGear Auto. The Authorized

Person(s) Detail listed the “Title MGR” as M.N., 5113 Filmore Place,

Sanford, Florida. The principal address of NextGear Automotive was 5113

Filmore Place, Sanford, Florida.

      6.     MMK Properties, LLC (“MMK Properties”) was a Florida

company that was registered on or about April 30, 2007. D.K. was listed in the

FL/DOC records as the registered agent. The Authorized Person(s) Detail

listed the “Title MGRM” as D.K. and the “Title VP” as M.N., both located at

2541 South Magnolia Avenue, Sanford, Florida.

      7.     FlexPlus LLC (“FlexPlus”) was a Florida company that was

registered on or about September 18, 2015. The principal address of FlexPlus

was 2800 North Highway 17-92, Longwood, Florida.

                            Relevant Individuals

      8.     KAAKATI, a U.S. citizen residing in Sanford, Florida, was an

independent car dealer who owned NextGear Automotive. KAAKATI was




                                      3
Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 5 of 12 PageID 5




licensed in Florida to sell used cars at retail and wholesale prices, which he did

through NextGear Automotive.

      9.     M.N. was a U.S. citizen residing in Sanford, Florida. According

to records obtained from the Lebanese Republic Ministry of Interior General

Directorate of Civil Status, M.N. and KAAKATI were married on October

11, 2006. M.N. filed for divorce on September 16, 2019, which was finalized

on or about October 20, 2019.

      10.    B.C. was employed by FlexPlus as an accountant.

      11.    S.A. was the general manager of FlexPlus.

Corresponding Financial Accounts

      12.    According to Bank of America records, KAAKATI opened the

checking account ending in #3675 in the name of NextGear Automotive on

February 19, 2019. The account opening documents were signed by

KAAKATI.

      13.    According to CenterState Bank records, M.N. and D.K. opened

the checking account ending in #4529 in the name of MMK Properties on or

about June 29, 2016.

Introduction to Wire Fraud Scheme

      14.    According to its website, FlexPlus is a floorplan financing

company catering to independent used car dealers and wholesalers. Based on



                                        4
Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 6 of 12 PageID 6




my knowledge of this investigation, I know that floorplan financing

companies (like FlexPlus) extend lines of credit to a car dealer using the

inventory as collateral. As the car dealer sells their inventory, the original

principal for the car, plus interest and fees, is paid back to the floorplan

financing company. This allows a car dealer to stock their lot with a lesser

initial investment. I also know, based on my knowledge of this investigation,

that the floorplan financing company typically retains control of a car title

until a car is paid off.

       15.    On or about April 1, 2019, KAAKATI, doing business as

NextGear Automotive, signed a term sheet with FlexPlus, which, among

other things, stated that NextGear Automotive’s credit limit was $200,000. As

part of their business relationship, KAAKATI had signed an Automated

Clearing House (ACH) authorization form, permitting FlexPlus to initiate

ACH transactions from NextGear Automotive’s Bank of America checking

account ending in #3675.

       16.    On or about August 2, 2019, KAAKATI’s floorplan line of credit

with FlexPlus increased to $600,000, which was memorialized in a new,

signed term sheet.

       17.    According to Bank of America records, on or about Friday,

September 20, 2019, at approximately 12:05 p.m., $550,000 was withdrawn




                                         5
Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 7 of 12 PageID 7




via cashier’s check from NextGear Automotive’s checking account ending in

#3675. The cashier’s check’s number ends in #664 and was made payable to

MMK Properties.

       18.    I have reviewed surveillance footage provided by Bank of

America in Ocoee, Florida, related to the above-described transaction. In

reviewing the footage (which does not have audio), I observed KAAKATI

approach the teller’s counter at approximately 11:44 a.m. on September 20,

2019, with what appears to be a cellphone in his left hand and nothing in his

right hand. At approximately 12:07 p.m., KAAKATI is seen leaving the teller

counter with a white envelope in his left hand and what appears to be his

driver’s license in his right hand.

       19.    Later that same day, KAAKATI went to FlexPlus’s office in

Longwood, Florida, where he interacted with B.C. According to the sworn

written statement that B.C. provided to law enforcement, KAAKATI told

B.C. that he was at FlexPlus to make a lot of payments, which KAAKATI

wanted to do in two batches. KAAKATI had instructed B.C. that one batch

could be processed then, and the second batch could be processed after 3:00

p.m. that day, so that it would be cleared on Tuesday, September 24, 2019.

Once B.C. had realized the amount for which KAAKATI was trying to pay

and collect car titles, B.C. informed KAAKATI that he did not feel



                                       6
Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 8 of 12 PageID 8




comfortable transferring the titles. KAAKATI then purported to show B.C. on

KAAKATI’s phone the most recent transactions in his bank account,

specifically two deposits. One deposit was for over $200,000; the other was for

over $500,000. Based on that showing of available funds, B.C. released 24 car

titles to KAAKATI for which KAAKATI owed FlexPlus $528,337.98.

      20.    According to Bank of America records for the account number

ending in #3675, the ending balance on September 19, 2019, was $553,718.18.

The ending balance on September 20, 2019, was $218.18, which reflects the

withdrawal of $550,000 via cashier’s check, as well as another withdrawal for

$3,500.

      21.    Based on my training and experience, and my knowledge of this

investigation, I know that when a cashier’s check is used to withdraw funds

from an account, the amount reflected on the cashier’s check is immediately

removed from the account by the issuing bank and placed in a separate in-

house account awaiting to be paid out. Accordingly, I believe that KAAKATI

likely showed B.C. a balance in his bank account that did not reflect the actual

amount of funds available.

      22.    That same day, FlexPlus attempted to collect payment from

KAAKATI for one set of car titles consistent with what he had discussed with

B.C. According to a collections report generated by FlexPlus, Flexplus



                                       7
Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 9 of 12 PageID 9




attempted 24 ACH transactions on September 20, 2019, and September 23,

2019, corresponding to the 24 car titles that were transferred to KAAKATI.

      23.    The following table sets forth the 24 ACH transactions that

FlexPlus initiated based on KAAKATI’s representation that he had sufficient

funds to pay for the car titles that B.C. had transferred to him.

       Last Six Digits of Vehicle ACH Payment           Date of ACH
       Identification Number      Amount
       (VIN)
       522792                     $30,300.00            09/20/2019

       526639                       $8,770.00           09/20/2019

       D15877                       $21,830.00          09/20/2019

       409755                       $27,040.00          09/20/2019

       106528                       $28,185.00          09/20/2019

       000852                       $36,600.00          09/20/2019

       H37271                       $18,625.00          09/20/2019

       244838                       $7,280.00           09/20/2019

       198547                       $8,285.00           09/20/2019

       340998                       $4,820.00           09/20/2019

       114323                       $10,970.00          09/20/2019

       266603                       $47,498.83          09/23/2019

       376582                       $44,726.78          09/23/2019




                                        8
Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 10 of 12 PageID 10




      A68580                      $9,122.72          09/23/2019

      A38570                      $18,869.31         09/23/2019

      380430                      $15,700.00         09/23/2019

      C44734                      $30,835.00         09/23/2019

      394440                      $25,255.00         09/23/2019

      028774                      $25,485.00         09/23/2019

      051103                      $22,305.00         09/23/2019

      297975                      $4,720.00          09/23/2019

      153749                      $18,195.00         09/23/2019

      119000                      $38,601.55         09/23/2019

      454970                      $24,318.79         09/23/2019


      24.    Records from IBERIABANK reflect that 11 ACH transactions

originated by FlexPlus totaling approximately $202,705 were returned for

insufficient funds by the receiver, NextGear Automotive, with receiver

account number ending in #3675. IBERIABANK records also show that 13

ACH transactions originated by FlexPlus totaling approximately $325,632.98

were returned for insufficient funds by the receiver, NextGear Automotive,

with receiver account number ending in #3675.

      25.    According to IBERIABANK (now First Horizon Corporation),

all ACH transactions in September 2019 were processed outside the State of


                                      9
Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 11 of 12 PageID 11




Florida, specifically the State of Louisiana, where IBERIABANK previously

was headquartered. First Horizon Corporation is headquartered in the State of

Tennessee.

         26.   Bank of America records for the NextGear Automotive checking

account ending in #3675 for the statement period beginning September 1, and

ending September 30, 2019, show 24 entries for “RETURN OF POSTED

CHECK” with line-item amounts that correspond to those listed in the above

table.

         27.   According to a sworn statement that S.A. provided to law

enforcement, on or about September 25, 2019, KAAKATI informed FlexPlus

that the remaining car inventory for which he had not received titles were

located at an auto auction company in Orlando, Florida. FlexPlus was not

able to recover any of the inventory of which KAAKATI had defrauded it.




                                       10
Case 6:24-mj-01433-EJK Document 1 Filed 04/23/24 Page 12 of 12 PageID 12




                               CONCLUSION

      28.    Based on the foregoing information, I respectfully submit that

probable cause exists to believe that Hani Wafik KAAKATI committed wire

fraud, in violation of 18 U.S.C. § 1343.




                                           Kimberly Simmonds
                                           Task Force Officer
                                           Federal Bureau of Investigation

       Affidavit submitted to me by reliable electronic means and attested to
me as true and accurate by telephone or other reliable electronic means
consistent with Fed. R. Crim. P. 4.1 and 4(d) before me this 23d day of April
2024.



HON. EMBRY KIDD
United States Magistrate Judge




                                       11
